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     MICHAEL CHASTAINE, State Bar #121209
 1   THE CHASTAINE LAW OFFICE
     101 Parkshore Drive, Suite 100
 2   Folsom, CA 95630
     Telephone: 916-932-7150
 3
     Attorney for Defendant
 4   Amador Eli Rosales
 5
 6                                IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                                  )       Case No.: 2:10-cr-437 WBS
     UNITED STATES OF AMERICA,                      )
10                                                  )       STIPULATION AND ORDER
                     Plaintiff,                     )       CONTINUING VIOLATION OF PRETRIAL
11                                                  )       CONDITIONS HEARING
            v.                                      )
12                                                  )
     AMADOR ELI ROSALES,                            )
13                                                  )
                     Defendant.                     )
14
            Defendant, AMADOR ELI ROSALES, by and through his attorney, Michael Chastaine,
15
     the United States, by and through Assistant United States Attorney Jill Thomas, hereby stipulate
16
     and agree to continue the Violation of Pretrial Conditions Hearing before Hon. Magistrate Judge
17
     Kendall J. Newman in the above-captioned case for good cause from Friday, December 17, 2010
18
     at 2:00 p.m. to the next available court date on Monday, December 20, 2010 at 2:00 p.m. The
19
     continuance is requested for good cause—to allow counsel for the defense and counsel for the
20
     government to fully prepare to address alleged pretrial conditions violation.
21
22
     Dated: December 17, 2010                     The CHASTAINE LAW OFFICE
23
                                                  By: ____/s/ Michael Chastaine__
24                                                       MICHAEL CHASTAINE
25                                                       Attorney for Defendant
                                                         Eli Amador Rosales
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     Dated: December 17, 2010                   BENJAMIN WAGNER
 1                                              United States Attorney
 2
                                                By: ___/s/ Jill Thomas_______
 3                                                     JILL THOMAS
                                                       Assistant U.S. Attorney
 4                                                     (per authorization)
 5
 6
 7                                             ORDER
 8          GOOD CAUSE APPEARING, in that it is the stipulation of the parties:
 9          IT IS HEREBY ORDERED that the Violation of Pretrial Conditions Hearing scheduled
10   for Friday, December 17, 2010 at 2:00 p.m. is continued to Monday, December 20, 2010 at 2:00
11   p.m. before Magistrate Judge Kendall J. Newman.
12
13   Dated: December 17, 2010                    /s/ Kendall J. Newman
14                                               Kendall J. Newman
                                                 District Magistrate Judge
15                                               United States District Court
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